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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

    BELLA HEALTH AND WELLNESS et al.
                                                               Case No. 1:23-cv-939-DDD-SKC
            Plaintiffs,

       v.

    PHIL WEISER, in his official capacity as
    Attorney General of Colorado, et al;

            Defendants.

                                ENTRY OF APPEARANCE

   To the clerk of court and all parties of record:

      I hereby certify that I am a member in good standing of the bar of this court, and

   I appear in this case as counsel for:

   BELLA HEALTH AND WELLNESS,
   DEDE CHISM, ABBY SINNETT, and
   KATHLEEN SANDER, on behalf of themselves and their patients.


      DATED: October 15, 2024.

                                                      /s/ Michael J. O’Brien
                                                      Michael J. O’Brien
                                                      The Becket Fund for Religious Liberty
                                                      1919 Pennsylvania Ave, N.W.
                                                      Suite 400
                                                      Washington, D.C. 20006
                                                      (202) 955-0095
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                              CERTIFICATE OF SERVICE

         I hereby certify that on October 15, 2024, I electronically filed the foregoing

   Entry of Appearance with the Clerk of Court via CM/ECF, which will provide

   electronic copies to counsel of record.




                                                 /s/ Michael J. O’Brien
